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                                DEPARTMENT OF THE TREASURY
                                        WASHINGTON, D.C. 20220



             NOTIFICATION OF BLOCKING OF A THIRD PERSON

ENF 43092

Jessica Johanna Oseguera Gonzalez



Dear Ms. Oseguera Gonzalez:

You are hereby notified that on April 8, 2015, the U.S. Department of the Treasury's Office of
Foreign Assets Control (OFAC) designated Abigael Gonzalez Valencia, Nemesio Oseguera
Cervantes, Los Cuinis, and Cartel de Jalisco Nueva Generacion as Specially Designated
Narcotics Traffickers (SDNTs) pursuant to the Foreign Narcotics Kingpin Designation Act, 21
U.S.C. §§ 1901-1908, 8 U.S.C. § 1182 (the "Kingpin Act"), which is implemented by the
Foreign Narcotics Kingpin Sanctions Regulations, 31 C.F.R. part 598, and the Reporting,
Procedures and Penalties Regulations, 31 C.F.R. part 501 (collectively, the "Regulations"). A
copy of the press release announcing these designations is enclosed.

OFAC has reason to believe that you are a U.S. person I subject to the Regulations. See 31
C.F.R. § 598.318. Any transaction or dealing by a U.S. person, or within the United States, in
any property or interests in property.of a designated entity or individual is generally prohibited
unless authorized by OFAC. Accordingly, you are generally prohibited from using, transferring,
or dealing in any property in which an SDNT has an interest without specific authorization from
OFAC. You are also generally prohibited from engaging in any economic transaction with an
SDNT or any other designated or blocked persons without specific authorization from OFAC.
Any contract or written agreement between you and an SDNT, as well as any payments due to or
from you as a result of services provided under such contract or agreement, is blocked and may
not be dealt in without specific authorization from OF AC. Additionally, any transaction or
dealing that evades or avoids this prohibition is unlawful.

As of April 8, 2015, any blocked funds in your possession in which an SDNT or any other
designated or blocked person has an interest must be placed in a blocked interest-bearing account
at a U.S. financial institution. All blocked property must be reported to OFAC at the following
address, within ten business days from the date the property becomes blocked, as required by 31
C.F.R. § 501.603:
                        Attn: Compliance Programs Division
                         Office of Foreign Assets Control
                        U.S. Department of the Treasury
                         1500 Pennsylvania Avenue, NW
                        Washington, DC 20220

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 A "United States person" or "U.S. person" means any United States citizen or national, permanent resident alien,
an entity organized under the laws of the United States (including its foreign branches), or any person within the
United States.




                                                                                                EXHIBIT 1
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In the case of funds, this report must include the name and address of the financial institution, the
account title, the account number, and the amount of funds deposited. In the case of other
property, this report must include a full description of the property and its current specific
location.

OFAC will consider requests for specific licenses to ameliorate the effects of this blocking
action. Should you wish to seek a license to engage in any transaction involving an SDNT, a
designated or blocked person, or blocked property (including any transaction in which a
designated or blocked person has an interest), please refer to the licensing procedures set forth in
31 C.F.R. §§ 501.801-802. Requests for specific licenses may be submitted online at OFAC's
web site at www.treasury.gov/ofac, by facsimile to (202) 622-1657, or by mail to the attention of
the Licensing Division at the address for OFAC listed above. Inquiries regarding pending
license requests may be made at (202) 622-2480.

An OFAC license is required for the transfer, disposal, or third-party storage of any
property blocked by the designation described above, as well as for any payments related
to these activities. Also note that OF AC may authorize the sale of blocked property in
appropriate cases. See 31 C.F.R. § 598.206(e). The Regulations also provide procedures for
submitting requests for unblocking funds, which may be found at 31 C.F.R. §§ 501.806-807.

Violations of the Kingpin Act may result in civil monetary penalties ofup to $1,075,000 for each
such transaction. The Kingpin Act also provides for criminal penalties of up to 20 years in
prison and $1 million in fines.

For a complete list of all specially designated and blocked persons under the economic sanctions
programs administered by OFAC, please check our web site at www.treasury.gov/ofac.

Any questions concerning this notice or obligations with respect to blocked property may be
directed to Enforcement at (202) 622-2430, referencing the ENF number at the top of this
notification, or to OFAC Licensing at (202) 622-2480.

                                              Sincerely,




                                              Thomas Feddo
                                              Assistant Director for Enforcement
                                              Office of Foreign Assets Control

Enclosure




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